Case 2:23-cv-06188-JMW Document 76 Filed 10/30/23 Page 1 of 4 PageID #: 1728




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------------------X
  SUPERB MOTORS INC., TEAM AUTO SALES LLC,
  ROBERT ANTHONY URRUTIA, 189 SUNRISE                                      Case No.: 2:23-cv-6188 (JMW)
  HWY AUTO LLC, NORTHSHORE MOTOR
  LEASING, LLC, BRIAN CHABRIER, individually and                           SUPPLEMENTAL SUMMONS
  derivatively as a member of NORTHSHORE MOTOR
  LEASING, LLC, JOSHUA AARONSON, individually
  and derivatively as a member of 189 SUNRISE HWY
  AUTO, LLC, JORY BARON, 1581 HYLAN BLVD
  AUTO LLC, 1580 HYLAN BLVD AUTO LLC, 1591
  HYLAN BLVD AUTO LLC, 1632 HYLAN BLVD
  AUTO LLC, 1239 HYLAN BLVD AUTO LLC, 2519
  HYLAN BLVD AUTO LLC, 76 FISK STREET
  REALTY LLC, 446 ROUTE 23 AUTO LLC and
  ISLAND AUTO MANAGEMENT, LLC,

                                          Plaintiffs,

                    -against-

  ANTHONY DEO, SARAH DEO, HARRY
  THOMASSON, DWIGHT BLANKENSHIP, MARC
  MERCKLING, MICHAEL LAURIE, THOMAS
  JONES, CPA, CAR BUYERS NYC INC., GOLD
  COAST CARS OF SYOSSET LLC, GOLD COAST
  CARS OF SUNRISE LLC, GOLD COAST MOTORS
  AUTOMOTIVE GROUP LLC, GOLD COAST
  MOTORS OF LIC LLC, GOLD COAST MOTORS OF
  ROSLYN LLC, GOLD COAST MOTORS OF
  SMITHTOWN LLC, UEA PREMIER MOTORS
  CORP., DLA CAPITAL PARTNERS INC., JONES,
  LITTLE & CO., CPA'S LLP, FLUSHING BANK,
  LIBERTAS FUNDING LLC, and J.P. MORGAN
  CHASE BANK, N.A.,

                                           Defendants.
  ---------------------------------------------------------------------X
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. : 2:23-cv-6188 (JMW)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):




           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
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Anthony Deo                             Gold Coast Cars of Roslyn LLC
3 Saddle Ridge Road                     180 Michael Drive
Old Westbury, NY 11568                  Syosset, NY 11791

Gold Coast Cars of LIC LLC              Gold Coast Cars of Smithtown LLC
180 Michael Drive                       180 Michael Drive
Syosset, NY 11791                       Syosset, NY 11791

Sarah Deo                               UEA Premier Motors Corp.
3 Hunting Lane                          180 Michael Drive
Old Westbury, NY 11568                  Syosset, NY 11791

Harry Thomasson                         DLA Capital Partners Inc.
3820 Sunrise Highway                    125 Froehlich Farm Boulevard
Box 112                                 Woodbury, NY 11797
Wantagh, NY 11793
                                        Jones, Little & Co., CPA's LLP
Dwight Blankenship                      86 West Main Street
1490 Franklin Avenue                    East Islip, NY 11730
Mineola, NY 11501
                                        Flushing Bank
Marc Merckling                          P.O. Box 9000
259 East 4th Street                     East Meadow, NY 11554
Deer Park, NY 11729
                                        Gold Coast Automotive Group LLC
Michael Laurie                          180 Michael Drive
125 Froehlich Farm Boulevard            Syosset, NY 11791
Woodbury, NY 11797
                                        Libertas Funding LLC
Thomas Jones, CPA                       411 West Putnam Avenue
86 West Main Street                     Suite 220
East Islip, NY 11730                    Greenwich, CT 06830

Car Buyers NYC Inc.                     JPMorgan Chase Bank, N.A.
180 Michael Drive                       Mail Code LA4-7100
Syosset, NY 11791                       700 Kansas Lane
                                        Monroe, LA, 71203
Gold Coast Cars of Syosset LLC
180 Michael Drive
Syosset, NY 11791
                                        2:23-cv-06188-JMW
Gold Coast Cars of Sunrise LLC
180 Michael Drive
Syosset, NY 11791
